                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

    DONNA LOU and DAREN PARSA, on                     CIVIL ACTION NO. 2:21-cv-00080
    their own behalf and on behalf of their
    deceased minor child, E.P.                        SECTION “D”

                                                      DIVISION (2)
    versus
                                                      JUDGE WENDY B. VITTER

    SHERIFF JOSEPH P. LOPINTO, III, et                MAGISTRATE DONNA P. CURRAULT
    al.



                         STATEMENT OF UNCONTESTED MATERIAL FACTS


           Defendants Victory Real Estate Investments LA, LLC and Westgate Investors NO, LLC

d/b/a Westgate Shopping Center (“Moving Defendants”) respectfully submit the following

Statement of Uncontested Material Facts in Support of their Motion for Summary Judgment.

           1.      Plaintiffs Donna Lou and Daren Parsa filed their Complaint on January 14, 2021,

                   in which they allege that their 16-year-old child, E.P., who was severely autistic,

                   died while in the custody and care of Jefferson Parish Sheriff’s Office (JPSO)

                   deputies while in the parking lot of the Westgate Shopping Center.1

           2.      According to Plaintiffs, Moving Defendants “hired, authorized and/or provided

                   security officers for its tenants, customers and visitors,” and that DPSO Deputy

                   Chad Pitfield (“Defendant Pitfield”) was a member of the security team.2




1
    Complaint, Doc. 1.
2
    Doc. 1, ¶¶ 43, 44.
         3.       Plaintiffs allege that Defendant Pitfield was a JPSO Reserve Deputy who was

                  assigned to the crime scene for JPSO and who was working “off-duty” / “public

                  assignment” on Moving Defendants’ property at the time of the incident.3

         4.       In the “Causes of Action” section of their Complaint, Plaintiffs bring one count

                  against Moving Defendants: “Violation of Louisiana Constitution and State Law,”

                  under which the only allegation involving Moving Defendants is that Moving

                  Defendants “[are] liable for the actions and omissions of Defendant Pitfield, as

                  stated herein, in his capacity as working a ‘special detail’ on ‘public assignment’

                  on the premises of the Westgate Shopping Center, and acting in the course and

                  scope of his employment or agency, at all relevant times herein.”4

         5.       The Complaint contains no factual allegation that Moving Defendants were directly

                  negligent in any way.5

         6.       Moving Defendants had no regular meetings with the private security detail and

                  had never had a discussion with Defendant Pitfield.6

         7.       Moving Defendants did not require security to write any type of reports.7

         8.       The only instruction Moving Defendants gave to the private security detail was that

                  they were to “have an officer present on the parking lot for specified periods of time

                  to where they were protecting the patrons and the tenants of the Westgate Shopping

                  Center.”8




3
  Doc. 1, ¶ 46
4
  Doc. 1, ¶ 477.
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  Doc. 1, in globo; Doc. 1, ¶ 27.
6
  Exhibit 1, Deposition of Gina Christopher, p. 26, lines 20-24, p. 45, lines 16-18.
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  Ex. 1, p. 26, lines 7-10.
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  Ex. 1, p. 36, lines 18-25, p. 37, lines 1-6.
         9.       Moving Defendants never received a security plan or proposal from JPSO and

                  Moving Defendants never developed a security plan themselves.9

         10.      Apart from a cell phone, Moving Defendants’ private security detail used its own

                  uniform, weapon, vehicle, and tools.10

         11.      The policies and procedures which Defendant Pitfield was supposed to follow in

                  his role doing private detail work for customers were the policies and procedures

                  he was trained on by JPSO.11

         12.      Moving Defendants had no policies, rules, or regulations of any type with which

                  the security detail was required to comply.12

         13.      As for location, Moving Defendants only instructed its private security detail to

                  patrol the property.13

         14.      When called to the incident at issue, Defendant Pitfield was not “under any general

                  directive or protocol provided by Westgate,” was “at [his] discretion as a reserve

                  deputy officer to respond to that incident,” and in that moment would follow his

                  JPSO training.14

         15.      Moving Defendants provided no training to its security officers and Defendant

                  Pitfield had no conversations with Moving Defendants following the incident at

                  issue.15




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  Ex. 1, p. 30, lines 1-5.
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   Ex. 1, p. 43, lines 16-25, p. 44, lines 1-22; Exhibit 2, Deposition of Chad Michael Pitfield, p. 61, lines 13-19, p.
62, lines 1-25, p. 63, lines 1-23, p. 95, lines 15-18, p. 97, 22-25.
11
   Ex. 2, p. 36, lines 23-25, p. 37, lines 1-15.
12
   Ex. 1, p. 25, lines 11-15.
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   Ex. 2, p. 98, lines 1-7.
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   Ex. 2, p. 231, lines 7-22.
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   Ex. 2, p. 233, lines 7-10.
         16.       The methods used by the security officers were to be the same methods they used

                   as on-duty police officers.16

         17.       Moving Defendants’ private security guards were expected to use their professional

                   judgment gathered from their experience as police officers.17

         18.       E.P had been calm during the time that Defendant Pitfield was involved with his

                   restraint.18

         19.       At the time Defendant Pitfield was replaced in the restraint of E.P., there was

                   nothing about E.P’s situation that caused Donna Lou concern for things like need

                   for CPR, and Defendant Pitfield did not have E.P. in a chokehold.19

         20.       When Defendant Pitfield was replaced in the restraint of E.P., Plaintiff Donna Lou

                   was still holding his hand and she wouldn’t be able to hold his hand unless E.P. was

                   calm at that point.20

         21.       There was no indication that E.P. was having respiratory issues before Defendant

                   Pitfield was replaced.21




16
   Ex. 1, p. 44, lines 2-25.
17
   Ex. 1, p. 25, lines 11-15, p 44, lines 2-25; Ex. 2, p. 36, lines 23-25, p. 37, lines 1-15.
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   Exhibit 3, Deposition of Donna Lou, p. 176, lines 15-19.
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   Ex. 3, p. 206, lines 3-11.
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   Exhibit 4, Deposition of Daren Parsa, p. 278, lines 5-13.
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   Ex. 2, p. 125, lines 17-25, p. 126, lines 1-4.
                                                Respectfully submitted,

                                                THOMPSON, COE, COUSINS & IRONS, LLP

                                                /s/ Christopher W. Kaul ______________________

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                                                INVESTMENTS LA, LLC and WESTGATE
                                                INVESTORS NO, LLC D/B/A WESTGATE
                                                SHOPPING CENTER

                                  CERTIFICATE OF SERVICE

        I hereby certify that to the best of my knowledge all counsel of record consent to and

participate in receiving electronic notification from the CM/ECF system, and that the Clerk of the

Court for the Eastern District of Louisiana, using the CM/ECF system, will electronically send

notification of the filing of this pleading to all counsel of record.




                                                By: /s/ Christopher W. Kaul __________________
                                                Christopher W. Kaul
